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 5
 6   ATTORNEY FOR DEFENDANT
     ERIC MAYO
 7
 8
                  IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )               CR.S-08–263-FCD
                                    )
12        PLAINTIFF,                )               STIPULATION AND ORDER
                                    )               TO CONTINUE STATUS
13        v.                        )               CONFERENCE TO MONDAY,
                                    )               MAY 4, 2009
14   CHARLES BARKSDALE, et al,      )
                                    )
15        DEFENDANT.                )
     _______________________________)
16
17         Plaintiff United States of America, by its counsel, Assistant United States
18   Attorney, Mr. Matthew D. Segal and defendant Donald Taylor by his attorney,
19   Mr. Timothy Zindel, defendant Kevin Dixon, by his attorney, Mr. Joseph J. Wiseman,
20   defendant Jolene Papineau, by her attorney, Mr. Michael B. Bigelow and defendant
21   Eric Mayo by his attorney, Mr. James R. Greiner, hereby stipulate and agree that the
22   status conference calendared for Monday, March 30, 2009, at 10:00 a.m. before the
23   Honorable United States Senior District Court Judge, Frank C. Damrell, Jr., may be
24   continued to Monday, May 4, 2009, at 10:00 a.m.
25         The Court’s relief courtroom deputy, Ms. Monica Narcisse, has been contacted
26   to ensure the Court’s calendar was available for that date and the Court is available on
27   Monday, May 4, 2009.
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 1         Defendant Donald Taylor is out of custody, defendants Kevin Dixon, Jolene
 2   Papineau and Eric Mayo are in custody. There is no trial date set.
 3                       PROCEDURAL STATUS OF THE CASE
 4         On May 16, 2009, the government filed a criminal complaint against defendant
 5   Donald Taylor, and that same date, Mr. Taylor made his initial appearance. (See
 6   Docket Entries # 1 and 3).
 7         On May 30, 2008, the government filed a criminal complaint against defendant
 8   Charles Barksdale. (See docket Entry #1). On June 2, 2008, Mr. Barksdale made his
 9   initial appearance. (See Docket Entry # 3)
10         On June 11, 2008, the government filed an Indictment against defendants
11   Charles Barksdale and Donald Taylor. (See Docket Entry # 9)
12         On July 14, August 18, September 8 and September 29, 2008, status
13   conferences were held in district court, with time excluded under the Speedy Trial Act
14   under Title 18 U.S.C. section 3161(h)(8)(B)(ii) and Local Code T-2 due to the
15   complex nature of the case and Title 18 U.S.C. section 3161(h)(8)(B)(iv) and Local
16   Code T-4, the adequate time needed by counsel to adequately prepare. (See Docket
17   Entries #’s 22, 24, 25, and 27). The Court set a further status Conference for October
18   20, 2008. (See Docket Entry # 27)
19         On October 15, 2008, the government filed a complaint against defendant
20   Kevin Dixon. (See Docket Entry # 1).
21         On October 17, 2008, the Court signed an Order Continuing the Status
22   Conference to November 10, 2008, with time excluded under the Speedy Trial Act
23   under Title 18 U.S.C. section 3161(h)(8)(B)(iv) and Local Code Local Code T-4, the
24   adequate time needed by counsel to adequately prepare.
25         On October 30, 2008, the government filed a Superseding Indictment as to
26   defendants Charles Barksdale, Donald Taylor, Kevin Dixon, Eric Mayo, Jolene
27   Papineau and Bessie Oakley. (See Docket Entry # 35)
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 1         Defendant Bessie Oakley made her initial appearance on October 31, 2008.
 2   (See Docket Entry # 41)
 3         On November 6, 2008, the Court signed an Order Continuing the Status
 4   Conference to November 24, 2008, as to defendants Charles Barksdale, Donald Taylor
 5   and Bessie Oakley, with time excluded under the Speedy Trial Act under Title 18
 6   U.S.C. section 3161(h)(8)(B)(iv) and Local Code Local Code T-4, the adequate time
 7   needed by counsel to adequately prepare.
 8         On November 18, 2008, the Court signed an Order dismissing defendant Bessie
 9   Oakley from the case. (See Docket Entry # 51)
10         On November 20, 2008, the Court singed an Order Continuing the Status
11   Conference to December 15, 2008, with time excluded under the Speedy Trial Act
12   under Title 18 U.S.C. section 3161(h)(8)(B)(iv) and Local Code Local Code T-4, the
13   adequate time needed by counsel to adequately prepare. (See Docket Entry # 54)
14         On December 4, 2008, defendant Kevin Dixon made his initial appearance. (See
15   Docket Entry # 59)
16         On December 10, 2008, defendant Jolene Papineau made her initial appearance.
17   (See Docket Entry # 60)
18         On December 15, 2008, a Status Conference was held in District Court and the
19   matter was continued to January 20, 2009, as to defendants Charles Barksdale, Donald
20   Taylor, Kevin Dixon and Jolene Papineau, with time excluded under the Speedy Trial
21   Act under Title 18 U.S.C. section 3161(h)(8)(B)(iv) and Local Code T-4, the adequate
22   time needed by counsel to adequately prepare. (See Docket Entry # 65)
23         On December 17, 2008, defendant Eric Mayo made his first appearance. (See
24   Docket Entry # 66)
25         On January 14, 2009, the Court issued an Order moving the Status Conference
26   to January 21, 2009. (See Docket Entry # 70).
27         On January 21, 2009, a Status Conference was held in District Court and a
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 1   further Status Conference was set for March 30, 2009 as to defendants Charles
 2   Barksdale, Donald Taylor, Kevin Dixon, Eric Mayo, and Jolene Papineau, with time
 3   excluded under the Speedy Trial Act under Title 18 U.S.C. section 3161(h)(8)(B)(ii)
 4   and Local Code T-2 due to the complex nature of the case and Title 18 U.S. C. section
 5   3161(h)(8)(B)(iv) and Local Code T-4, the adequate time needed by counsel to
 6   adequately prepare-. (See Docket Entry # 71)
 7
 8                        STATUS OF DISCOVERY IN THE CASE
 9         The government has provided discovery, both in the form of CD’s and audio
10   tape recordings which is voluminous, which the defense continues reviewing and
11   investigating.
12         The government has represented that new and additional discovery is
13   forthcoming to the defense in the form of CD’s containing telephone calls from cell
14   phones seized.
15         The parties stipulate and agree that time under the Speedy Trial Act shall
16   continue be excluded up to and including Monday, May 4, 2009, under the Speedy
17   Trial Act and the parties stipulate and agree that the interests of justice is served by
18   granting this continuance outweighs the best interests of the public and the defendants
19   in a speedy trial, Title 18 U.S.C. § 3161(h)(8)(A), for the all of the above stated
20   factual reasons. Thus, the parties agree and stipulate that time be excluded under the
21   Speedy Trial Act under Title 18 U.S.C. section 3161(h)(8)(B)(ii) and Local Code T-2
22   due to the complex nature of the case and Title 18 U.S. C. section 3161(h)(8)(B)(iv)
23   and Local Code T-4, the adequate time needed by counsel to adequately prepare,
24   from Monday, March 30, 2009 to and including, Monday, May 4, 2009.
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 1                               Respectfully submitted,
 2                               LARRY G. BROWN
                                 ACTING UNITED STATES ATTORNEY
 3
                                 /s/ Matthew D. Segal by telephone authorization
 4
     DATED: 3-27-09              _____________________________________
 5                               MATTHEW D. SEGAL
                                 ASSISTANT UNITED STATES ATTORNEYS
 6                               ATTORNEY FOR THE PLAINTIFF
 7
     DATED: 3-27-09              /s/ Timothy Zindell–by e mail authorization
 8                               _____________________________________
                                 TIMOTHY ZINDELL
 9                               Attorney for Defendant
                                 Donald Taylor
10
11   DATED: 3-27-09              /s/ Joseph J. Wiseman–by e mail authorization
                                 ______________________________________
12                               JOSEPH J. WISEMAN
                                 Attorney for Defendant
13                               Kevin Dixon
14
     DATED: 3-27-09              /s/ Michael B. Bigelow–by e mail authorization
15                               ______________________________________
                                 MICHAEL B. BIGELOW
16                               Attorney for Defendant
                                 Jolene Papineau
17
18   DATED: 3-27-09              /s/ James R. Greiner
                                 _______________________________________
19                               JAMES R. GREINER
                                 Attorney for Defendant
20                               Eric Mayo
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 1                                           ORDER
 2         This matter having come before the Court pursuant to the Stipulation of the
 3   parties, and Good Cause Appearing, therefor,
 4         IT IS ORDERED THAT: the hearing now set for Monday, March 30, 2009, at
 5   10:00 a.m., is vacated and the matter is set for a further status conference on Monday,
 6   May 4, 2009, at 10:00 a.m..
 7         Further, the Court, finds that pursuant to the factual representations of the
 8   parties and the stipulation of all the parties that time will be excluded under the
 9   Speedy Trial Act under Title 18 U.S.C. section 3161(h)(8)(B)(ii) and Local Code T-2
10   due to the complex nature of the case and Title 18 U.S. C. section 3161(h)(8)(B)(iv)
11   and Local Code T-4, the adequate time needed by counsel to adequately prepare. The
12   time under the Speedy Trial Act is excluded from Monday, March 30, 2009 to
13   Monday, May 4, 2009.
14
15         FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
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17
18   DATED: March 31, 2009
19                                            _______________________________________
                                              FRANK C. DAMRELL, JR.
20                                            UNITED STATES DISTRICT JUDGE

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